                                                                                       08/27/2024


           IN THE SUPREME COURT OF THE STATE OF MONTANA                            Case Number: DA 23-0142



                                 No. DA 23-0142


STATE OF MONTANA,

             Plaintiff and Appellee,

      v.

CHEYENNE LEILANI-AMBER ZIELIE,

             Defendant and Appellant.


                                       ORDER

      Upon consideration of Appellee’s motion for a 30-day extension of time,

and good cause appearing therefor, Appellee is granted an extension of time to

and including October 4, 2024, within which to prepare, file, and serve the State’s

response brief.




CL                                                                      Electronically signed by:
                                                                              Mike McGrath
                                                                 Chief Justice, Montana Supreme Court
                                                                             August 27 2024
